              Case 2:10-cr-00211-KJN Document 144 Filed 05/10/11 Page 1 of 2


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   JARED C. DOLAN
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2767
 5

 6

 7                      IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,     )              CASE NO. 2:10-cr-211 KJN
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )              STIPULATION AND ORDER TO
                                   )              SCHEDULE SENTENCE FOR MAY 11,
13   MELISSA GEDDES                )              2011
                                   )
14                                 )
                    Defendant.     )
15   ______________________________)
16

17
          The parties request that the sentencing in this case be
18
     scheduled for May 11, 2011 at 9:00 a.m. in Courtroom 8 before the
19
     Honorable Kendall J. Newman, U.S. Magistrate Judge.             The parties
20
     have confirmed the availability of this date with the Court’s
21
     clerk.
22

23
                                                Respectfully Submitted,
24
                                                BENJAMIN B. WAGNER
25                                              United States Attorney
26

27   DATE: May 9, 2011              By:          /s Jared Dolan
                                                JARED C. DOLAN
28                                              Assistant U.S. Attorney

                                            1
           Case 2:10-cr-00211-KJN Document 144 Filed 05/10/11 Page 2 of 2


 1

 2
     DATE: May 9, 2011                        /s Jared Dolan for
 3                                           DINA SANTOS
                                             Attorney for Defendant
 4

 5                                           SO ORDERED.
 6
     DATE: May 9, 2011
 7

 8

 9

10                                     ____________________________
                                       KENDALL J. NEWMAN
11                                     UNITED STATES MAGISTRATE JUDGE
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                         2
